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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



TIKTOK INC., et al.,

                       Plaintiffs,

       v.                                           Case No. 20-cv-02658 (CJN)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                       Defendants.



              PLAINTIFFS’ NOTICE OF EXTENSION IN CFIUS MATTER

       At the November 4, 2020 hearing on Plaintiffs’ renewed motion for preliminary injunction,

the Court instructed the parties to keep the Court apprised of any developments in the Committee

on Foreign Investment in the United States (“CFIUS”) process concerning Plaintiffs. Pursuant to

that request, Plaintiffs hereby notify the Court that on November 12, 2020, CFIUS granted an

extension of the 90-day period specified in Section 2(b) of the Presidential Order Regarding the

Acquisition of Musical.ly by ByteDance Ltd., 85 Fed. Reg. 51,297 (Aug. 14, 2020), for an

additional 15 days, specifically, from November 12, 2020 to November 27, 2020.

DATED: November 13, 2020                    Respectfully submitted,

                                              /s/ John E. Hall

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